Case 3:20-cv-00278-RLY-CSW Document 174 Filed 06/21/24 Page 1 of 1 PageID #: 13605



                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               EVANSVILLE DIVISION

 LYNNETTE J. KAISER, et al.,                  )
                                              )
                           Plaintiffs,        )
                                              )
                      v.                      )    No. 3:20-cv-00278-RLY-CSW
                                              )
 ALCOA USA CORP., et al.,                     )
                                              )
                           Defendants.        )

  ORDER GRANTING AMENDED JOINT MOTION FOR EXTENSION OF TIME
         TO FILE REPLY TO MOTION FOR ENTRY OF ORDER OF
                   JUDGMENT AND FOR SURREPLY

         AND NOW, this 21st day of June, 2024, upon consideration of the Parties’

   Joint Motion for Extension of Time to File Reply to Motion for Entry of Order of

   Judgment and for Surreply (Dkt. No. 171) and their Amended Joint Motion for

   Extension of Time to File Reply to Motion for Entry of Order of Judgment and for

   Surreply (Dkt. No. 173), the Motions are hereby GRANTED.

         IT IS THEREFORE ORDERED that Plaintiffs shall have 10 days from the

   date of Tiffany Ackerman’s deposition to file their reply. Ms. Ackerman’s deposition

   is scheduled for July 10, 2024, and therefore Plaintiffs’ reply is due by July 22,

   2024. Defendants shall file any surreply by August 5, 2024.

         SO ORDERED.

         Date: June 21, 2024




   Served electronically on all ECF-registered counsel.
